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 2   JOSH COHEN
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 4   San Francisco, CA 94102
     (415) 436-7700
 5
     Counsel for Defendant BARNLA
 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )               No. CR-05-0375 SI
                                           )
12                     Plaintiff,          )               STIPULATION AND [PROPOSED]
                                           )               ORDER MODIFYING CONDITIONS OF
13         v.                              )               RELEASE
                                           )
14   ASA BARNLA,                           )
                                           )
15                     Defendant.          )
     _____________________________________ )
16

17          Having entered a guilty plea to charges that he participated in a conspiracy to cultivate

18   marijuana, defendant Asa Barnla is scheduled to be sentenced by this Court on February 17,

19   2006. The parties anticipate that this sentencing date will be continued by several months while

20   litigation involving Mr. Barnla’s codefendants continues.

21          Mr. Barnla is presently free on bond. One of the conditions of his release is that he not

22   travel outside the Northern District of California.

23          Mr. Barnla has enrolled at California State University Fullerton for the spring semester.

24   Accordingly, he will be residing in the Central District of California beginning in late January

25   2006. He must travel to the Fullerton area before classes begin in order to find housing. Pretrial

26   Services does not object to Mr. Barnla’s studies or his travel to Fullerton in January.

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     CONDITIONS                                       1
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 1            Accordingly, the parties agree and stipulate that Mr. Barnla’s release conditions shall be

 2   modified to permit him to travel to and from the Central District of California.

 3            IT IS SO STIPULATED.

 4   Dated:                                                 ___________________________
                                                            BARRY J. PORTMAN
 5                                                          Federal Public Defender
                                                            JOSH COHEN
 6                                                          Assistant Federal Public Defender

 7
     Dated:                                                 ____________________________
 8                                                          KEVIN V. RYAN
                                                            United States Attorney
 9                                                          ANDREW SCOBLE
                                                            Assistant United States Attorney
10

11            Accordingly, and for good cause shown, the Court orders that the defendant’s release

12   conditions shall be modified as follows: In addition to the Northern District of California, Mr.

13   Barnla may travel to and from the Central District of California.

14            IT IS SO ORDERED.

15   Dated:                                                          DISTRIC
                                                            __________________________________
                                                                T
                                                            SUSANESILLSTON    TC
16                                                            TA
                                                            UNITED  STATES DISTRICT JUDGE
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17
                                                                                 TED
                                                      UNIT




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                                                                        Judge S
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     CR 05-0375 SI; STIP TO M ODIFY RELEASE
     CONDITIONS                                        2
